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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

MISS GLOBAL ORGANIZATION, LLC, a California                           CASE NUMBER
limited liability company, et al.
                                                       Plaintiff(s)                     8:17-cv-02223-DOC-KES
                                     v.
SOKHUNTEA MAK, a/k/a TEA MAK, an individual,                                 ORDER ON REQUEST FOR APPROVAL
et al.                                                                       OF SUBSTITUTION OR WITHDRAWAL
                                                     Defendant(s)
                                                                                     OF ATTORNEY [126]

         The Court hereby orders that the request of:

Sokhuntea Mak and Scott Ware                             Plaintiff      Defendant        Other
                     Name of Party

to substitute themselves                                                                                                who is

           Retained Counsel                Counsel appointed by the Court (Criminal cases only)                    Pro Se

1456 Huckleberry Circle
                                                                Street Address
      Issaquah, WA 98029                                                         scottibo@gmail.com
                             City, State, Zip                                                     E-Mail Address

         (206) 992-7147
                     Telephone Number                           Fax Number                                 State Bar Number

as attorney of record instead of MANDOUR & ASSOCIATES, APC
                                                     List all attorneys from same firm or agency who are withdrawing.
Ben T. Lila (246808); Joseph A. Mandour, III (SBN 188896); and Gordon E. Gray(SBN 175209)



is hereby               GRANTED                 DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this case.


         Dated          July 22, 2019
                                                                         DAVID O. CARTER, U. S. District Judge



G–01 ORDER (09/17)           ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
